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                        EXHIBIT A
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       Martorello          Cite in
                                                    Proof that Statement Is True
        Statement        Pl.s’ Brief
   Martorello “was       Stmt. of    • Ex. E - Gravel 4/5/19 Dep. at 98:14–99:19 (testifying
   not involved in the   position at   that it is not true that Gravel, Martorello and Bellicose
   creation of Red       7, 8          “helped form Big Picture and Red Rock”)
   Rock, but made                    • Ex. D - Rosette 6/29/2020 Dep. at 182:8–17 (
   aware Red Rock
   had been formed.”
   Martorello Decl. ¶
   17.




                                                           )
                                      • Ex. LLL - ROSETTE_REVISED_052703 at 052706,
                                        052709 (


                                                            )
                                      • Ex. MMM - ROSETTE_REVISED_052104 at 052105
                                        (

                                                                           )
                                      • Ex. NNN - CM0000341 (
                                                                                             )
                                     • Ex. OOO - ROSETTE_REVISED_004067 (Oct. 8,
                                       2011 email from Flint Richardson to Martorello et al.:
                                       “As everyone is aware LVD has already established
                                       Red Rock Tribal Lending LLC”)
   “Neither I, nor       Stmt. of    • Ex. E - Gravel 4/5/19 Dep. at 98:14–99:19: (testifying
   Bellicose, helped     Position at   that it is not true that Gravel, Martorello and Bellicose
   form Big Picture      8             “helped form Big Picture and Red Rock”)
   or Red Rock.”                     • Ex. PPP - McGeshick 11/14/17 Dep. at 12:1–8
   Martorello Decl.                    (testifying that Red Rock was dissolved and became
   ¶ 102.                              Big Picture “for the growth and—of the economic
                                       development of the Tribe.”)
                                     • Ex. D - Rosette 6/29/20 Dep. at 182:8–17 (

                                                       )
                                      • Ex. C - Williams 11/13/17 Dep. 78:2–5 (“Q: Who
                                        created BPL? A: The Tribe. Q: And whose idea was it
                                        to create BPL? A: It was the Tribe, the business and
                                        Tribal Council.”)
                                      • Ex. C - Williams 11/13/17 Dep. 138:20–139:21
                                        (discussing reasons for creating BPL and Ascension)

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      Martorello           Cite in
                                                       Proof that Statement Is True
      Statement           Pl.s’ Brief
                                      • Ex. F - Weddle 5/20/19 Dep. at 125:14–18 (testifying
                                        that Bellicose and SourcePoint did not have authority
                                        regarding whether the tribal lending entities were
                                        renamed)
                                      • Ex. NNN - CM0000341 (
                                                                                             )
                                      • Ex. OOO - ROSETTE_REVISED_004067 (Oct. 8,
                                        2011 email from Flint Richardson to Martorello et al.:
                                        “As everyone is aware LVD has already established
                                        Red Rock Tribal Lending LLC”)
                                      • Ex. B - LVD Resolution No. 2014-066 (Aug. 26, 2014)
                                        (forming Big Picture under Tribal law by act of the
                                        Tribe, through the efforts of its counsel)
   “LVD approached        Stmt. of    • Ex. I - Dowd 11/13/18 Dep. 177:2–5 (
   Martorello in 2011     Position at                                                      )
   to assist them [sic]   11          • Ex. I - Dowd 11/13/18 Dep. at 202:11–205:13
   create and grow                      (
   online lending
   business.”                                                    )
   Martorello Decl. at                  • Ex. HHH - Justin Martorello 6/12/19 Decl. at 6
   Heading II.A.                          (“[R]epresentatives of LVD approached my brother
                                          sometime in 2011 and proposed that he provide
                                          consulting services to the new online consumer lending
                                          business that it intended to form.”)
                                        • Ex. G - Mansfield 1/18/19 Dep. at 45:7–47:8 (




                                                                                         )
                                        • Ex. J - Merritt 3/21/19 Dep. at 65:17–67:8 (

                                                                              )
                                        • Ex. D - Rosette 6/29/20 Dep. at 77:7–13; 80:7–81:2;
                                          94:13–22; 97:17–21 and 169:24–170:23 (



                                                   )
                                        • Ex. QQQ - LVD-DEF00000716 (


                                                             )
                                        • Ex. RRR - ROSETTE_REVISED_048773 (Aug. 4,


                                                   2
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      Martorello    Cite in
                                                Proof that Statement Is True
      Statement    Pl.s’ Brief
                                   2011 email setting up an “Intro Call” with Martorello in
                                   August 2011 regarding the “Tribal Lending Program,”
                                   indicating he was not involved in the Tribe’s efforts
                                   prior to that date)
                                 • Ex. SSS - ROSETTE_REVISED_048832 (Aug. 4–5,
                                   2011 email chain among Martorello, Flint Richardson,
                                   Rob Rosette, and Scott Merritt showing that at the time
                                   Martorello first met those three, LVD had already taken
                                   substantial steps towards launching the lending
                                   business including forming an LLC and establishing a
                                   tribal lending ordinance and regulatory commission)
                                 • Ex. TTT - ROSETTE_REVISED_048835 (Aug. 5,
                                   2011 email in which LVD’s agents inform Martorello
                                   of LVD’s minimum Tribal Net Profits requirements,
                                   proposed contractual term, and other deal terms)
                                 • Ex. UUU - ROSETTE_REVISED_052381 (Aug. 10,
                                   2011 email in which LVD’s agents forwarded initial
                                   draft of servicing agreement)
                                 • Ex. VVV - ROSETTE_REVISED_052365 (Aug. 20,
                                   2011 email in which Scott Merritt states that “tribe is
                                   ready” and he would “be glad to arrange a visit” to
                                   LVD)
                                 • Ex. OOO - ROSETTE_REVISED_004067 (Oct. 8,
                                   2011 email stating LVD has already established Red
                                   Rock and secured the EIN)
                                 • Ex. WWW - ROSETTE_REVISED_007017 (Oct. 12,
                                   2011 email stating that LVD already had ACH
                                   processor)
                                 • Ex. XXX - ROSETTE_REVISED_007004 (Oct. 19,
                                   2011 email stating LVD already had its “Tribal
                                   Consumer Financial Services Regulatory Agent”)
                                 • Ex. PP - ROSETTE_REVISED_037655 (




                                                                  )
                                 • Ex. YYY - ROSETTE_REVISED 040120 (




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       Martorello          Cite in
                                                       Proof that Statement Is True
       Statement          Pl.s’ Brief
                                                    )
                                        • Ex. BBBB - ROSETTE_REVISED_040124 (


                                                                                             )
                                        • Ex. ZZZ - ROSETTE_REVISED_053462 (Feb. 28,
                                          2012 email from Martorello: “we have about 80 new
                                          hires planned for training over the next 45 days”)
                                        • Ex. AAAA - ROSETTE_REVISED_044532 (

                                                                                                 )
                                        • Ex. HHHH - CM0000286–97 (


                                                                 )
                                        • Ex. IIIIII - ROSETTE_REVISED_034840–1 (

                                                                                     )
                                        • Ex. QQQQQ - MidMarch_DD 000536 (Oct. 8, 2013
                                          memo from Rosette analyzing Otoe decision and
                                          providing extensive detail of activities Red Rock is
                                          performing on the reservation)
   “As LVD gained         Stmt. of      • Ex. I - Dowd 11/13/18 Dep. at 36:2–22 (
   additional             Position at
   knowledge and          11
   sophistication, I
   understood that                                            )
   LVD had always                       • Ex. I - Dowd 11/13/18 Dep. at 175:14–17 & 202:2–5
   intended to                            (
   increase its ability                                         )
   to manage and run                    • Ex. I - Dowd 11/13/18 Dep. at 180:24–181:22
   a successful                           (
   lending business                                                                       )
   while decreasing                     • Ex. I - Dowd 11/13/18 Dep. at 186:2–12 (
   outsourced
   consulting                                                                   )
   services.”                           • Ex. I - Dowd 11/13/18 Dep. at 191:24–192:13
   Martorello Decl. ¶                     (
   48.                                                                                           )
                                        • Ex. I - Dowd 11/13/18 Dep. at 193:14–194:2 (


                                                                   )
                                        • Ex. I - Dowd 11/13/18 Dep. at 202:11–205:13


                                                   4
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      Martorello    Cite in
                                                Proof that Statement Is True
      Statement    Pl.s’ Brief
                                   (

                                                        )
                                 • Ex. E - Gravel 04/05/2019 Dep. at 21:8–16 (testifying
                                   that Bellicose made recommendations to the lender that
                                   hired Bellicose)
                                 • Ex. CCCCCC - Hazen 9/28/17 Aff. ¶ 8 (“To learn the
                                   lending industry, Red Rock contracted with
                                   Bellicose…”)
                                 • Ex. G - Mansfield 1/18/19 Dep. at 106:2–107:5
                                   (


                                        )
                                 • Ex. G - Mansfield 1/18/19 Dep. at 185:18–186:2 &
                                   119:10–19 (


                                                                                  )
                                 • Ex. F - Weddle Dep. at 116:11–117:16 (“[t]he model
                                   that many tribes follow is to hire the best service
                                   provider they can to help them learn a business,
                                   develop their internal capacity, grow it over time, and
                                   then eventually they don’t need that service provider
                                   anymore”)
                                 • Ex. F - Weddle 5/20/2019 Dep. at 227:6–229:6
                                   (testifying that Tribe had a long-term vision for lending
                                   business, which was discussed in 2011 at the tribal
                                   council meeting, to create upward mobility for LVD
                                   members)
                                 • Ex. F - Weddle 5/20/2019 Dep. at 239:3–240:7
                                   (testifying that LVD decided to purchase Bellicose
                                   because tribes frequently acquire businesses: “it’s a
                                   way by which tribes very quickly acquire capacity and
                                   expertise by purchasing it rather than growing it in-
                                   house over a longer period of time.”)
                                 • Ex. PP - ROSETTE_REVISED_037655 (




                                                                             )
                                 • Ex. DDDD - CM0000620 (



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      Martorello    Cite in
                                                Proof that Statement Is True
      Statement    Pl.s’ Brief

                                                        )
                                 • Ex. EEEE - ROSETTE_REVISED_045532 (

                                                                               )
                                 • Ex. FFFF - ROSETTE_REVISED_043977 (


                                         )
                                 • Ex. GGGG - ROSETTE_REVISED_045806

                                                                                   )
                                 • Ex. HHHH - CM0000286–97 (


                                                              )
                                 • Ex. OO - ROSETTE_REVISED_045131 (June 7, 2012
                                   email documenting transfer of authority to co-managers
                                   to negotiate debt settlements as part of lending
                                   business)
                                 • Ex. JJJJJJ - ROSETTE_REVSIED_046394 (


                                                                 )
                                 • Ex. WW - ROSETTE_REVISED_045533 (



                                                    )
                                 • Ex. IIII - ROSETTE_REVISED_037729 (

                                                                              )
                                 • Ex. ZZ - ROSETTE_REVISED_014047 (Nov. 2, 2012
                                   email listing lending activities performed in office on
                                   LVD reservation)
                                 • Ex. JJJJ - ROSETTE_REVISED_044773 (


                                        )
                                 • Ex. KKKK - ROSETTE_REVISED_044130–
                                   044131(




                                            6
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      Martorello    Cite in
                                                Proof that Statement Is True
      Statement    Pl.s’ Brief



                                                                 )
                                 • Ex. LLLL - ROSETTE_REVISED_029171 (Aug. 19,
                                   2014 email stating compliance manager is impressive
                                   and “the Tribe will absolutely benefit from her
                                   participation as a DCTF employee)
                                 • Ex. MMMM - ROSETTE_REVISED_046799 (


                                                                        )
                                 • Ex. NNNN - ROSETTE_REVISED_045267 (Aug. 24,
                                   2014 email from Wichtman to Martorello: “I have tribal
                                   leaders in my ear eager to learn”)
                                 • Ex. OOOO - ROSETTE_REVISED_037429 (

                                                                        )
                                 • Ex. FFF - LVD-DEF00017855 (

                                                                               )
                                 • Ex. EEEEE - LVD-DEF00006043 (


                                                               )
                                 • Ex. FFFFF - LVD-DEF00022840 (



                                        )
                                 • Ex. PPPP - ROSETTE_REVISED_031665 (


                                           )
                                 • Ex. QQQQ - ROSETTE_REVISED_006609 (

                                                                                   )
                                 • Ex. RRRR - LVD-DEF00023021 (

                                                       )
                                 • ECF 821-2 - Henson Rep. at 4 (“Noteworthy parallels
                                   exist between the development of tribal gaming
                                   enterprises and online lending. When tribes initially
                                   entered the highly-regulated gaming industry, they did


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      Martorello    Cite in
                                                Proof that Statement Is True
      Statement    Pl.s’ Brief
                                   not have the capital, managerial talent, or technical
                                   skills to start and operate successful casino businesses.
                                   As a result, tribal governments sought outside expertise
                                   to help them manage their gaming enterprises, as well
                                   as to provide technological solutions associated with
                                   many popular gaming products (such as electronic
                                   bingo and slot machines). In addition to facilitating
                                   tribal gaming operations, outside experts also trained
                                   tribal employees, so that tribes were better positioned to
                                   manage their enterprises themselves. These
                                   circumstances are mirrored in the similarly highly-
                                   regulated online lending industry, as tribes formalized
                                   contractual relationships with outside experts to
                                   facilitate their entry into a new industry.”)
                                 • ECF 821-6 - Morgan Rep. at 7–8 (explaining that, in
                                   the context of gaming, tribes often partner with non-
                                   tribal service providers “because they d[o] not have the
                                   required knowledge and capital” to enter the business,
                                   and that “Once a tribe had gained enough gaming
                                   knowledge, they were able to function without the non-
                                   tribal company and operate, control, and regulate every
                                   aspect of their own casinos.”)
                                 • ECF 821-6 - Morgan Rep. at 13 (“The Sales and
                                   Service agreements together position [LVD] to utilize a
                                   common business development technique in other tribal
                                   industries. … [T]he tribes used their partnership
                                   relationships to gain experience, knowledge and capital.
                                   After gaining the necessary knowledge, the tribes no
                                   longer needed a partner and were able to increase their
                                   profitability by eliminating the need for a partner. The
                                   increased profits are key to fulfilling [LVD]’s socio-
                                   economic goals for its membership.”)
                                 • ECF 821-6 - Morgan Rep. at 14 (“In my professional
                                   opinion, the [LVD]’s lending business was following
                                   the same evolutionary path as most tribal gaming and
                                   tribal government contracting businesses. The Sales
                                   Agreement represents [LVD]’s effort to manage all
                                   aspects of its business operations without the need for a
                                   partner.”)
                                 • ECF 821-6 - Morgan Rep. at 28 (“Tribes follow an
                                   evolutionary cycle when entering into a new industry.
                                   They create the entity, often partner with another
                                   company to help learn the business and then generally
                                   are incentivized to completely take over a business


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      Martorello         Cite in
                                                     Proof that Statement Is True
      Statement         Pl.s’ Brief
                                        without any partners or with partners in limited roles.”)
   Martorello had        Stmt. of     • Ex. I - Dowd 11/13/18 Dep. at 185:15–23 (
   “never taken any      Position at
   action to collect, in 14                               )
   whole or in part,                 • Ex. YY - Gerber 12/17/18 Dep. at 52:9–53:18
   any consumer loan                   (explaining that the bank used for lending business
   originated by Red                   would only deal with customers that conducted
   Rock.” Martorello                   business on Tribal soil)
   Decl. ¶ 26                        • Ex. E - Gravel 4/5/19 Dep. at 158:1–19 (testifying that
                                       Red Rock and Duck Creek were the entities that had the
                                       authority to approve loans)
                                     • Ex. G - Mansfield 1/18/19 Dep. at 53:11–54:18
                                       (

                                                  )
                                      • Ex. G - Mansfield 1/18/19 Dep. at 112:23–113:2 (



                                                                  )
                                      • Ex. G - Mansfield 1/18/19 Dep. at 186:3–14 (




                                                 )
                                      • Ex. CCC - Justin Martorello 1/9/19 Dep. at 101:8–
                                        104:16 (explaining batch renewal process that occurred
                                        on Tribal land and was operated by Tribal employees)
                                      • Ex. J - Merritt 03/21/19 Dep. at 54:8–17 (
                                                           )
                                      • Ex. D - Rosette 6/29/20 Dep. at 60:18–61:11 (

                                                      )
                                      • Ex. F - Weddle 5/20/2019 Dep. at 62:9–63:22
                                        (testifying that any documentation or business matter,
                                        such as the consumer loan document language, must
                                        have had approval of the designated Tribal officials;
                                        Bellicose was not the decision maker as to what
                                        documents were acceptable, “[b]ecause Bellicose VI


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      Martorello     Cite in
                                                  Proof that Statement Is True
      Statement     Pl.s’ Brief
                                    was simply providing services pursuant to its contract”)
                                  • Ex. F - Weddle 5/20/2019 Dep. at 108–114 (explaining
                                    extensive evidence demonstrating Tribal control and
                                    that it is essential to the sovereign model that the Tribe
                                    maintain its control of lending)
                                  • Ex. F - Weddle 5/20/2019 Dep. at 110:8–15 (“at all
                                    times it was clear to me that I was advising Bellicose,
                                    as a service provider, who was in turn providing that
                                    information and advice to Red Rock and Duck Creek,
                                    and that the individuals responsible for decision-
                                    making for Duck Creek and for Red Rock were at all
                                    times tribal officials.”)
                                  • Ex. PP - ROSETTE_REVISED_037655 (




                                                                   )
                                  • Ex. XX - ROSETTE_REVISED_036363 (




                                          )
                                  • Ex. OO - ROSETTE_REVISED_045131 (June 7, 2012
                                    email documenting transfer of authority to co-managers
                                    to negotiate debt settlements as part of lending
                                    business)
                                  • Ex. III - ROSETTE_REVISED 044598 at 044600 (June
                                    15, 2012 email from Karrie Wichtman: “we made every
                                    effort to ensure tribal control, and are tweaking things
                                    almost constantly, it seems, to allow for more tribal
                                    control…”)
                                  • Ex. ZZ - ROSETTE_REVISED_014047 (Nov. 2, 2012
                                    discussion of activities taking place on-reservation
                                    including “payment processing,” inputting payments
                                    into customer accounts, and depositing physical checks
                                    into bank account)
                                  • Ex. TTTT - LVD-DEF00018890-4 (
                                                                           )
                                  • Ex. GGGGGG - LVD-DEF00017128 (




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      Martorello        Cite in
                                                    Proof that Statement Is True
      Statement        Pl.s’ Brief
                                                     )
                                     • Ex. UUUU - ROSETTE_REVISED_048583 (


                                             )
                                     • Ex. DDD - Chippewa_000013 (


                                               )
                                     • ECF 821-4 - Ross Rep. at 17 (“Red Rock or Big Picture
                                       Loans were the lenders to whom the small dollar
                                       consumer installment loans were first payable and
                                       therefore the lender, the only lender and the True
                                       Lender.”)
   “Bellicose has    Stmt. of        • Ex. I - Dowd 11/13/18 Dep. at 185:15–23 (
   never accepted or Position at
   collected a       14                               )
   consumer loan                 • Ex. YY - Gerber 12/17/18 Dep. at 52:9–53:18
   payment under any               (explaining that the bank used for lending business
   loan agreement                  would only deal with customers that conducted
   originated by Big               business on Tribal soil)
   Picture or Red                • Ex. E - Gravel 4/5/19 Dep. at 158:1–19 (testifying that
   Rock.” Martorello               Red Rock and Duck Creek were the entities that had the
   Decl. ¶ 105                     authority to approve loans)
                                 • Ex. G - Mansfield 1/18/19 Dep. at 53:11–54:18
                                   (

                                                 )
                                     • Ex. G - Mansfield 1/18/19 Dep. at 112:23–113:2 (



                                                                 )
                                     • Ex. G - Mansfield 1/18/19 Dep. at 186:3–14 (

                                                                                          )
                                     • Ex. CCC - Justin Martorello 1/9/19 Dep. at 46:20–47:3
                                       (“I can tell you that the servicer SourcePoint never
                                       collected any amounts ever.” and “Red Rock Tribal
                                       Lending or – or Duck Creek would have used payment
                                       processors that would debit consumers’ accounts, and
                                       those funds would settle into Red Rock’s bank
                                       account.”)
                                     • Ex. CCC - Justin Martorello 1/9/19 Dep. at 101:8–


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      Martorello     Cite in
                                                  Proof that Statement Is True
      Statement     Pl.s’ Brief
                                    104:16 (explaining batch renewal process that occurred
                                    on Tribal land and was operated by Tribal employees)
                                  • Ex. J - Merritt 03/21/19 Dep. at 54:8–17 (
                                                       )
                                  • Ex. D - Rosette 6/29/20 Dep. at 60:18–61:11 (

                                                   )
                                  • Ex. F - Weddle 5/20/2019 Dep. at 62:9–63:22
                                    (testifying that any documentation or business matter,
                                    such as the consumer loan document language, must
                                    have had approval of the designated Tribal officials;
                                    Bellicose was not the decision maker as to what
                                    documents were acceptable, “[b]ecause Bellicose VI
                                    was simply providing services pursuant to its contract”)
                                  • Ex. F - Weddle 5/20/2019 Dep. at 108–114 (explaining
                                    extensive evidence demonstrating Tribal control and
                                    that it is essential to the sovereign model that the Tribe
                                    maintain its control of lending)
                                  • Ex. F - Weddle 5/20/2019 Dep. at 110:8–15 (“at all
                                    times it was clear to me that I was advising Bellicose,
                                    as a service provider, who was in turn providing that
                                    information and advice to Red Rock and Duck Creek,
                                    and that the individuals responsible for decision-
                                    making for Duck Creek and for Red Rock were at all
                                    times tribal officials.”)
                                  • Ex. PP - ROSETTE_REVISED_037655 (




                                                                   )
                                  • Ex. XX - ROSETTE_REVISED_036363 (




                                          )
                                  • Ex. OO - ROSETTE_REVISED_045131 (June 7, 2012
                                    email documenting transfer of authority to co-managers
                                    to negotiate debt settlements as part of lending
                                    business)
                                  • Ex. III - ROSETTE_REVISED 044598 at 044600 (June
                                    15, 2012 email from Karrie Wichtman: “we made every
                                    effort to ensure tribal control, and are tweaking things


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      Martorello         Cite in
                                                     Proof that Statement Is True
      Statement         Pl.s’ Brief
                                        almost constantly, it seems, to allow for more tribal
                                        control…”)
                                      • Ex. ZZ - ROSETTE_REVISED_014047 (Nov. 2, 2012
                                        discussion of activities taking place on-reservation
                                        including “payment processing,” inputting payments
                                        into customer accounts, and depositing physical checks
                                        into bank account)
                                      • Ex. TTTT - LVD-DEF00018890-4 (
                                                                              )
                                      • Ex. GGGGGG - LVD-DEF00017128 (



                                                      )
                                      • Ex. UUUU - ROSETTE_REVISED_048583 (


                                              )
                                      • Ex. DDD - Chippewa_000013 (


                                                )
                                      • ECF 821-4 - Ross Rep. at 17 (“Red Rock or Big Picture
                                        Loans were the lenders to whom the small dollar
                                        consumer installment loans were first payable and
                                        therefore the lender, the only lender and the True
                                        Lender.”)
   “Under the           Stmt. of      • Ex. I - Dowd 11/13/18 Dep. at 36:2–22 (
   Servicing            Position at
   Agreement, Red       16
   Rock paid
   SourcePoint to                                           )
   develop                            • Ex. I - Dowd 11/13/18 Dep. at 37:3–20 (
   underwriting
   criteria to
   recommend for
   implementation by
   Red Rock.                                                  )
   SourcePoint did                    • Ex. I - Dowd 11/13/18 Dep. at 50:8–23 (
   not simply
   implement these
   underwriting
   criteria on behalf                                           )
   of Red Rock, but                   • Ex. I - Dowd 11/13/18 Dep. at 58:12–59:19 (


                                                13
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       Martorello        Cite in
                                                     Proof that Statement Is True
        Statement       Pl.s’ Brief
   instead presented
   the underwriting
   criteria to Red
   Rock’s co-
   managers for their                           )
   evaluation and                     • Ex. I - Dowd 11/13/18 Dep. at 74:18–75:7 (
   ultimate approval
   or rejection.”
   Martorello Decl. ¶
   45


                                                    )
                                      • Ex. I - Dowd 11/13/18 Dep. at 175:4–176:7 (

                                                                          )
                                      • Ex. I - Dowd 11/13/18 Dep. at 184:10–21 (



                                                              )
                                      • Ex. I - Dowd 11/13/18 Dep. at 197:16–198:8 (




                                                                   )
                                      • Ex. E - Gravel 4/5/19 Dep. at 20:18–23:18 (testifying
                                        that Bellicose provided servicer provider
                                        recommendations to the lender that hired it―Capital
                                        Payday and Pepper Cash, owned by Red Rock
                                        Financial and Duck Creek Financial, owned by
                                        LVD―by way of lending operation recommendations
                                        and that the Tribal entities had decision-making
                                        authority regarding how to act on those
                                        recommendations)
                                      • Ex. E - Gravel 4/5/19 Dep. at 43:19–44:8 (testifying
                                        that the Tribal council was responsible for overseeing
                                        the governance and functioning of the Tribe, including
                                        the lending operation)
                                      • Ex. E - Gravel 4/5/19 Dep. at 86:3–87:12 (testifying
                                        that Martorello did not control Red Rock or Duck


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      Martorello     Cite in
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                                    Creek, and that it is extremely common in the industry
                                    for entities to serve as servicers to lending entities)
                                  • Ex. E - Gravel 04/05/2019 Dep. at 152:12–18 (“[W]e
                                    were merely making recommendations and acting as a
                                    service provider.”)
                                  • Ex. E - Gravel 4/5/19 Dep. at 158:1–19 (confirming
                                    that after loan applications complete underwriting
                                    process, “all loan applications are reviewed and []
                                    approved by [Red Rock or Duck Creek] on tribal land
                                    before the loan is originated.”)
                                  • Ex. VVVV - ROSETTE_REVISED_052323 (Aug. 24,
                                    2011 email in which Martorello describes the emerging
                                    concept for the relationship between the Tribe and
                                    Bellicose as follows: the Tribe will make the “decision
                                    on how to operate and underwrite” while “Bellicose
                                    suggest new ideas and changes to the operations,” and
                                    “the Tribe is making the decision on how to operate”)
                                  • Ex. TT - ROSETTE_REVISED_030201 (

                                                              )
                                  • Ex. KKKKKK - LVD-DEF00017139 (


                                                                                    )
                                  • Ex. YYYY - LVD-DEF00017189 (


                                                   )
                                  • Ex. ZZZZ - LVD-DEF00017101 (


                                                                                         )
                                  • Ex. AAAAA - LVD-DEF00017208 (

                                            )
                                  • Ex. BBBBB - LVD-DEF00016838 (


                                            )
                                  • Ex. CCCCC - LVD-DEF00021160 (

                                                               )
                                  • Ex. DDDDD - LVD-DEF00018915 (



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      Martorello         Cite in
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      Statement         Pl.s’ Brief

                                                                                      )
                                      • Ex. EEEEE - LVD-DEF00006043 (


                                                                    )
                                      • Ex. FFFFF - LVD-DEF00022840 (



                                              )
                                      • ECF 821-4 - Ross Rep. at 35 (stating that in modern
                                        banking relationships, while proprietary “credit-scoring
                                        model[s] employing various algorithms,” such as a
                                        FICO score, are used to evaluate loan applications, “it
                                        is the approver of the predetermined non-discretionary
                                        underwriting criteria that actually makes the credit
                                        decision,” which in this case is “the lender comanagers,
                                        and Tribal Representative, and or the Tribal Council”
                                        and that “Red Rock and BPL operate as typical
                                        companies with the specialist recommending and
                                        management approving”)
   “Neither I nor       Stmt. of      • Ex. I - Dowd 11/13/18 Dep. at 37:3–20 (
   Bellicose have       Position at
   ‘controlled’ any     16
   underwriting
   criteria used by
   and of LVD’s                                               )
   lending businesses                 • Ex. I - Dowd 11/13/18 Dep. at 44:6–22 (
   – at all times the
   LVD business
   retained full
   control over the
   underwriting                                                             )
   criteria used to                   • Ex. I - Dowd 11/13/18 Dep. at 50:8–23 (
   make loans to
   consumers.”
   Martorello Decl. ¶
   101                                                          )
                                      • Ex. I - Dowd 11/13/18 Dep. at 58:12–59:19 (




                                                16
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      Martorello     Cite in
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                                            )
                                  • Ex. I - Dowd 11/13/18 Dep. at 74:18–75:7 (




                                                )
                                  • Ex. I - Dowd 11/13/18 Dep. at 77:10–78:10 (


                                                        )
                                  • Ex. I - Dowd 11/13/18 Dep. at 175:4–176:7 (

                                                                      )
                                  • Ex. I - Dowd 11/13/18 Dep. at 184:10–21 (



                                                          )
                                  • Ex. I - Dowd 11/13/18 Dep. at 185:10–12 (

                                                      )
                                  • Ex. I - Dowd 11/13/18 Dep. at 193:14–194:2 (


                                                            )
                                  • Ex. I - Dowd 11/13/18 Dep. at 197:16–198:8 (




                                                               )
                                  • Ex. I - Dowd 11/13/18 Dep. at 208:18–210:20 (
                                                                      )
                                  • Ex. E - Gravel 04/05/2019 Dep. at 22:20–23:4
                                    (testifying that while Bellicose made recommendations,
                                    the Tribal entities had decision making authority)
                                  • Ex. E - Gravel 4/5/19 Dep. at 43:19–44:8 (testifying
                                    that the Tribal council was responsible for overseeing
                                    the governance and functioning of the Tribe, including


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      Martorello     Cite in
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                                    the lending operation)
                                  • Ex. E - Gravel 4/5/19 Dep. at 86:3–87:12 (testifying
                                    that Martorello did not control Red Rock or Duck
                                    Creek, and that it is extremely common in the industry
                                    for entities to serve as servicers to lending entities)
                                  • Ex. E - Gravel 04/05/2019 Dep. at 152:12–18 (“[W]e
                                    were merely making recommendations and acting as a
                                    service provider.”)
                                  • Ex. E - Gravel 4/5/19 Dep. at 158:1–19 (confirming
                                    that after loan applications complete underwriting
                                    process, “all loan applications are reviewed and []
                                    approved by [Red Rock or Duck Creek] on tribal land
                                    before the loan is originated.”)
                                  • Ex. VVVV - ROSETTE_REVISED_052323 (Aug. 24,
                                    2011 email in which Martorello describes the emerging
                                    concept for the relationship between the Tribe and
                                    Bellicose as follows: the Tribe will make the “decision
                                    on how to operate and underwrite” while “Bellicose
                                    suggest new ideas and changes to the operations,” and
                                    “the Tribe is making the decision on how to operate”)
                                  • Ex. TT - ROSETTE_REVISED_030201 (

                                                                                )
                                  • Ex. KKKKKK - LVD-DEF00017139 (


                                                                                    )
                                  • Ex. YYYY - LVD-DEF00017189 (


                                                  )
                                  • Ex. AAAAA - LVD-DEF00017208 (

                                              )
                                  • Ex. ZZZZ - LVD-DEF00017101 (


                                                                                         )
                                  • Ex. BBBBB - LVD-DEF00016838 (


                                                               )
                                  • Ex. CCCCC - LVD-DEF00021160 (



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      Martorello        Cite in
                                                   Proof that Statement Is True
      Statement        Pl.s’ Brief
                                                                  )
                                     • Ex. DDDDD - LVD-DEF00018915 (


                                                                                  )
                                     • Ex. EEEEE - LVD-DEF00006043 (


                                                                   )
                                     • Ex. FFFFF - LVD-DEF00022840 (



                                           )
                                   • ECF 821-4 - Ross Rep. at 35 (stating that in modern
                                     banking relationships, while proprietary “credit-scoring
                                     model[s] employing various algorithms,” such as a
                                     FICO score, are used to evaluate loan applications, “it
                                     is the approver of the predetermined non-discretionary
                                     underwriting criteria that actually makes the credit
                                     decision,” which in this case is “the lender comanagers,
                                     and Tribal Representative, and or the Tribal Council”
                                     and that “Red Rock and BPL operate as typical
                                     companies with the specialist recommending and
                                     management approving”)
   “Contrary to what Stmt. of      • Ex. BBB - Hazen 10/16/17 Dep. at 34–38 (discussing
   Plaintiffs have     Position at   revenue split)
   represented to the  22          • Ex. AAAAAAA - McFadden 12/21/17 Decl. ¶¶ 10–16
   Court, Red Rock                   (“Martorello has no ownership in nor control over
   did not receive two               Ascension”)
   percent of the net              • Ex. C - Williams 11/13/17 Dep. 52:6-57:7 (back and
   revenues under the                forth regarding amount Tribe received in January 2014
   terms of the                      from revenue generated by Red Rock wherein Williams
   Servicing                         claims revenue percentage Tribe has received could be
   Agreements.                       between 2-10%, all factors considered)
   Instead, as the                 • Ex. C - Williams 11/13/17 Dep. 57:8–61:25 (stating
   documents I have                  Red Rock received at least 2% and likely more)
   reviewed that were              • Ex. C - Williams 11/13/17 Dep. 63:1–6 (stating that in
   provided in                       August 2015 LVD was actively reinvesting 2% back
   discovery                         into the business)
   demonstrate LVD                 • Ex. C - Williams 11/13/17 Dep. 66:24–68:25
   chose to structure                (discussing BPL’s net revenue in February 2016 as 2%)
   their arrangement
                                   • Ex. C - Williams 11/13/17 Dep. 133:13–134:20 (stating
   to stabilize their                the Tribe gets 3% of gross revenue, 2% gets reinvested,


                                              19
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       Martorello         Cite in
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   monthly income as                   and 2% goes to pay Eventide)
   a percentage of                   • Ex. C - Williams 11/13/17 Dep. 136:14–18 (describing
   gross revenues,                     revenue split/structure as an “amazing deal” for the
   adjusted for bad                    Tribe)
   debts.” Martorello                • Ex. C - Williams 11/13/17 Dep. 166:19–169:2, 169:16–
   Decl. ¶ 34                          170:7, 170:16–25 (discussing revenue split)
                                     • Ex. RR - Ross Dep. at 133:13–135:3 (correcting
                                       questioner on the two-percent issue; it actually ends up
                                       being 6.13 percent of the profit. Fee for services
                                       absorbed approximately 93 percent of profits before
                                       service fees)
   “LVD suggested        Stmt. of    • Ex. BBB - Hazen 10/16/17 Dep. at 35:21–38:6
   this form of          Position at   (discussing the 2% of gross and that it was Tribe’s idea
   revenue split as it   23            for revenue split)
   guaranteed LVD’s                  • Ex. J - Merritt 3/21/19 Dep. at 49:1–13 (
   lending entities
   would always                                                 )
   generate income                     • Ex. D - Rosette 6/29/20 Dep. at 177:10–14 (
   for LVD’s general
   fund while
   simultaneously
   incentivizing                                                         )
   SourcePoint to                      • Ex. F - Weddle 5/20/19 Dep. at 116:9–17 (“The model
   assist LVD in the                     that many tribes follow is to hire the best service
   growth and the                        provider they can to help them learn a business,
   maintenance of an                     develop their internal capacity, grow it over time, and
   efficient and                         then eventually they don’t need that service provider
   successful                            anymore.”)
   business for the                    • Ex. F - Weddle 5/20/19 Dep. at 127:22–129:15 (stating
   benefit of LVD.”                      that Otoe-Missouria did not impact Ms. Weddle’s
   Martorello Decl. ¶                    belief that Tribal law still applied to LVD’s loans)
   36.                                 • Ex. C - Williams 11/13/17 Dep. 52:6–57:7 (back and
                                         forth regarding amount Tribe received in January 2014
                                         from revenue generated by Red Rock wherein Williams
                                         claims revenue percentage Tribe has received could be
                                         between 2-10%, all factors considered)
                                       • Ex. C - Williams 11/13/17 Dep. 57:8–61:25 (stating
                                         Red Rock received at least 2% and likely more)
                                       • Ex. C - Williams 11/13/17 Dep. 63:1–6 (stating that in
                                         August 2015 LVD was actively reinvesting 2% back
                                         into the business)
                                       • Ex. C - Williams 11/13/17 Dep. 66:24–68:25
                                         (discussing BPL’s net revenue in February 2016 as 2%)
                                       • Ex. C - Williams 11/13/17 Dep. 133:13–134:20 (stating


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       Martorello           Cite in
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       Statement           Pl.s’ Brief
                                           the Tribe gets 3% of gross revenue, 2% gets reinvested,
                                           and 2% goes to pay Eventide)
                                         • Ex. C - Williams 11/13/17 Dep. 136:14–18 (describing
                                           revenue split/structure as an “amazing deal” for the
                                           Tribe)
                                         • Ex. C - Williams 11/13/17 Dep. 166:19–169:2, 169:16–
                                           170:7, 170:16–25 (discussing revenue split)
                                         • Ex. GGGGG - ROSETTE_REVISED_052537–8 (

                                                                                                )
                                         • Ex. HHHHH - ROS002-0000693 at 694 (


                                                                   )
                                         • ECF 821-6 - Morgan Rep. at 22–24 (explaining that
                                           revenue sharing arrangements are common in Tribal
                                           businesses and concluding, “In my professional opinion
                                           … it would be reasonable for a tribe to consider the
                                           revenue sharing and the recapitalization provisions of
                                           the Sales Agreement and the term of the Note, a
                                           rational and mutually beneficial business
                                           arrangement.”)
   “Contrary to the        Stmt. of      • Ex. I - Dowd 11/13/18 Dep. at 85:20–86:5 (
   allegations of          Position at
   Plaintiffs, the         23
   decision to sell                                                 )
   Bellicose to LVD                      • Ex. I - Dowd 11/13/18 Dep. at 205:14–16 (
   was not motivated
   by impending                                                                              )
   threats of litigation                 • Ex. E - Gravel 4/5/19 Dep. at 71:12–72:22, 74:5–76:15,
   or enforcement                          77:5–78:3, 79:1–4 (testifying that Gravel believed
   actions by                              operations complied with the law, Operation
   government                              Chokepoint, Otoe-Missouria, etc. did nothing to affect
   agencies. Indeed,                       that belief, and Otoe-Missouria litigation was not a
   much of the                             significant event for him)
   discussions as to                     • Ex. BBB - Hazen 10/16/17 Dep. at 33:15–35:20
   the motivation                          (testifying that Tribe’s purpose in creating Big Picture
   behind the sale                         was Tribal economic development)
   transaction                           • Ex. D - Rosette 6/29/20 Dep. at 137:3–140:21
   described by
   Plaintiffs’
   Complaint are
   nonsensical and
   are temporally


                                                   21
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       Martorello        Cite in
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   problematic.                              )
   Plaintiffs claim                 • Ex. D - Rosette 6/29/20 Dep. at 138:9–140:21
   there were certain                 (
   ‘motivating
   factors’ for the
   sale which, in                               )
   reality, occurred                • Ex. D - Rosette 6/29/20 Dep. at 187:23–188:2
   eighteen months to                 (
   three years before
   the sale transaction
   closed.”                                 )
   Martorello Decl. ¶               • Ex. D - Rosette 6/29/20 Dep. at 194:9–21 (
   69




                                                    )
                                   • Ex. F - Weddle 5/20/19 Dep. at 127:22–129:15 (stating
                                     that Otoe-Missouria did not impact Ms. Weddle’s
                                     belief that tribal law still applied to LVD's loans)
                                   • Ex. P - Williams 8/22/13 Decl. at 3 (“Pursuant to Tribal
                                     law and their creation documents, Red Rock was
                                     created in order to advance the Tribe’s economic
                                     development and to aid in addressing issues of public
                                     health, safety, and welfare.”)
                                   • Ex. P - Williams 8/22/13 Decl. at 5 (stating, “Tribal
                                     lending has been an invaluable vehicle for economic
                                     growth, Tribal services, and Tribal development. The
                                     impact of Tribal lending on tribal growth and
                                     opportunity, employment and governmental financial
                                     stability has been immeasurable,” and explaining that
                                     lending enterprise accounts for “46 percent of the
                                     Tribe’s government budget” and fund “housing, youth
                                     programs, health and wellness, and law enforcement”)
                                   • Ex. P - Williams 8/22/13 Decl. at 5 (“The Tribe’s
                                     lending initiative gives the Tribe a chance to lift itself
                                     up from years of struggle and poverty, underfunded
                                     government and financial uncertainty toward stable,
                                     legitimate economic growth, development and
                                     economic prosperity and success.”)
                                   • Ex. M – John Williams 6/22/20 Dep. at 39:20–23 (
                                                                                                )
                                   • Ex. S - ROSETTE_REVISED_053374–6 (Nov. 2, 2012


                                              22
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      Martorello     Cite in
                                                 Proof that Statement Is True
      Statement     Pl.s’ Brief
                                    email from Martorello: “research is underway on this IP
                                    sale option”— showing sale discussions in 2012
                                    predating Otoe-Missouria litigation)
                                  • Ex. KKKKK - PHEN0002519 (July 16, 2013 email
                                    explaining that branding firm to hold SourcePoint out
                                    to public as “a tech company that helps make Native
                                    American tribes [become] self-sufficient” while
                                    creating multiple brands for identified tribal clients,
                                    showing that rebrand of Castle Payday was in the
                                    works before Otoe-Missouria district court decision)
                                  • Ex. IIIII - ROSETTE_REVISED_048729–32 (

                                                                     )
                                  • Ex. JJJJJ - ROSETTE_REVISED_048681 (

                                                                             )
                                  • Ex. SSSS - ROSETTE_REVISED_002801–2 (Aug. 19,
                                    2013 legal opinion and letter from former US Attorney
                                    of Colorado to New York Division of Financial
                                    Services stating LVD’s business is lawful)
                                  • Ex. LLLLL - MidMarch_DD 000546 (Aug. 22, 2013
                                    letter from Rep. Luetkemeyer et al. to U.S. Dep’t of
                                    Justice and Fed. Deposit Ins. Comm’n re illegality of
                                    Operation Choke Point)
                                  • Ex. MMMMM - MARTORELLO_ROSS_001392
                                    (Sept. 5, 2013 email from LVD’s bank recounting that
                                    the FDIC stated “that TLE’s are not illegal and they
                                    will not be exercising any moral values only legal
                                    matters.”)
                                  • Ex. NNNNN - ROSETTE_REVISED_047091 (



                                                                                         )
                                  • Ex. OOOOO - PHEN0001869 (



                                                                                  )
                                  • Ex. PPPP - ROSETTE_REVISED_044063 (

                                             )
                                  • Ex. OOOOO - PHEN0001881 (



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      Martorello     Cite in
                                                  Proof that Statement Is True
      Statement     Pl.s’ Brief
                                                       )
                                  • Ex. QQQQQ - MidMarch_DD 000536 (Oct. 8, 2013
                                    memo from Rosette analyzing Otoe decision and
                                    concluding that “nothing about [the Otoe] order alters
                                    Rosette’s conclusions that tribal sovereignty and the
                                    right of a tribe to govern its own activities are long-
                                    standing and well-settled principles of federal law and
                                    that, under applicable Tribal law, the Tribe’s activities,
                                    and those if its servicer, are legal and the proper basis
                                    for origination of ACH debits from state-based
                                    consumer accounts.”)
                                  • Ex. VVVVVV - MidMarch_DD 000255 (log showing
                                    that on Oct. 27, 2013, Martorello sent documents to fill
                                    data room to raise money and grow LVD’s lenders)
                                  • Ex. RRRRR - ROSETTE_REVISED_052790 (




                                                               )
                                  • Ex. W - ROSETTE_REVISED_052243 (


                                              )
                                  • Ex. SSSSS - ROSETTE_REVISED_043466 (



                                                                   )
                                  • Ex. LLLLLL - ROSETTE_REVISED_044365 (




                                                                                )
                                  • Ex. TTTTT - LVD-DEF00018126 at 00018131–32
                                    (
                                                                          )
                                  • Ex. X - ROSETTE_REVISED_052247 (Dec. 31, 2013
                                    email in which Martorello rejects a potential sale


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      Martorello     Cite in
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                                    transaction—opting, instead for “status quo”—for
                                    purely economic reasons, stating that “10% certainly
                                    isn’t going to work from a business standpoint (i.e. I
                                    might as well be a state licensed lender, as a comp. )
                                    The deal could be an outstanding deal and 1st of its
                                    kind, but we need to have it make sense”)
                                  • Ex. NNNNNN - ROSETTE_REVISED_030815 (




                                             )
                                  • Ex. AA - Middlemarch_001721 (


                                                                                          )
                                  • Ex. EEE - Martorello_003936 (April 16, 2014 email
                                    from Martorello: “My objective is to help the Tribe
                                    build their business in a self-sufficient manner. To help
                                    them learn and hire for all the various business
                                    components, and then walk away leaving them with a
                                    business that literally transforms an impoverished Tribe
                                    into one of financial stability.”)
                                  • Ex. XXXXXX - MARTORELLO_012230 (April 24,
                                    2014 Greenberg Traurig Indian Law attorney
                                    representing Martorello publishes article concluding the
                                    Tribal online lending is lawful)
                                  • Ex. OOOOOO - Chippewa_000033 (May 29, 2014
                                    email in which Martorello shares House Oversight
                                    Committee’s scathing report on Operation Choke Point
                                    stating Choke Point is an “abuse of power” that uses
                                    threat of federal investigation to target “industries
                                    deemed objectionable by the Administration” and that
                                    “if the administration believes some business should be
                                    out of business, they should prosecute them before a
                                    judge and jury.”)
                                  • Ex. XXXX - ROSETTE_REVISED_039876 (
                                                                                            )
                                  • Ex. MMMMMM - ROSETTE_REVISED_052572
                                    (




                                             25
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      Martorello     Cite in
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                                                        )
                                  • Ex. Y - ROSETTE_REVISED_046264 (



                                                                                     )
                                  • Ex. UUUUU - Middlemarch_002002 (

                                                                                         )
                                  • Ex. VVVVV - Chippewa_000028 (June 30, 2014
                                    House Bill to end Operation Choke Point)
                                  • Ex. BB - Middlemarch_000268 (



                                             )
                                  • Ex. UUUUUU - Middlemarch 000642 (

                                                                                         )
                                  • Ex. PPPPPP - MARTORELLO_032879 (July 29, 2014
                                    Martorello learns that the FDIC is removing “payday
                                    lending” from a “hit list” so as not to deter banks)
                                  • Ex. V - ROSETTE_REVISED_047736 (




                                                                                )
                                  • Ex. V - ROSETTE_REVISED_047736 (




                                                      )
                                  • Ex. WWWWW - ROSETTE_REVISED_047747 (



                                        )
                                  • Ex. XXXXX - ROSETTE_REVISED_047730 (



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      Martorello     Cite in
                                                  Proof that Statement Is True
      Statement     Pl.s’ Brief
                                                                   )
                                  • Ex. CC - ROSETTE_REVISED_052280 (



                                       )
                                  • Ex. YYYYY - ROSETTE_REVISED_053089 (




                                          )
                                  • Ex. ZZZZZ - ROSETTE_REVISED_052619 (Aug. 14,
                                    2014 email in which LVD’s lawyers send the Eventide
                                    structured deal among three options)
                                  • Ex. DD - ROSETTE_REVISED_052616 (




                                                            )
                                  • Ex. EE - ROSETTE_REVISED_048520 (Aug. 25,
                                    2014 email from Martorello explaining he will not exit
                                    Tribal lending if sale to LVD completed: “if we do
                                    reach terms, then some of my team will likely proceed
                                    with [another tribe] in a new entity, to help them stand
                                    up a business”)
                                  • Ex. FF - ROSETTE_REVISED_052400 (



                                                                                          )
                                  • Ex. AAAAAA - ROSETTE_REVISED_045282 (




                                                            )
                                  • Ex. GG - ROSETTE_REVISED_046191 (



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      Martorello     Cite in
                                                  Proof that Statement Is True
      Statement     Pl.s’ Brief




                                               )
                                  • Ex. BBBBBB - ROSETTE_REVISED_052656 (




                                               )
                                  • Ex. WWWWWW - ROSETTE_REVISED_001110
                                    (Nov. 4, 2014 email in which Martorello suggests “face
                                    to face meetings with State DFIs to talk” about the
                                    Second Circuit’s Otoe-Missouria ruling and the LVD
                                    lending business)
                                  • Ex. HH - ROSETTE_REVISED_045972 (




                                                                       )
                                  • Ex. II - ROSETTE_REVISED_044639–44642 (




                                                                                      )
                                  • Ex. JJ - CW_01786 (April 6, 2015 email from
                                    Martorello explaining: “the closing can’t happen until
                                    1/1/16. This is the fallback date if all else fails. If it
                                    happens in 2015, I’m locked onto this island until the
                                    year 2020. If it closes 2016, I am set free. This would
                                    mean once we have all the details on these docs, we
                                    execute the longest binding term sheet ever committed
                                    to close 1/1/2016”)
                                  • Ex. QQQQQQ - ROSETTE_REVISED_006669 (



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      Martorello          Cite in
                                                      Proof that Statement Is True
      Statement          Pl.s’ Brief
                                                                                       )
                                       • Ex. RRRRRR - ROSETTE_REVISED_006782 (


                                                  )
                                       • Ex. SSSSSS - ROSETTE_REVISED_029547 (




                                     • ECF 368-41 - Hudson Cook Legal Memo (Mar. 9,
                                       2017) (MARTORELLO_011673) (former Assistant
                                       Director of CFPB summarizing “history of
                                       developments in federal regulatory intervention in the
                                       small dollar lending market during the period 2015–
                                       2016 and stating “pressure on online lender access to
                                       banking services had diminished by the end of 2015.”)
                                     • Ex. TTTTTT - Martorello_011255 (Mar. 10, 2017
                                       email from Martorello detailing how Operation
                                       Chokepoint and potential CFPB rule were mitigated
                                       well before the sale)
                                     • ECF 821-3 - Norman Rep. at 13–14 (describing
                                       Martorello’s tax motivations to sell in 2016)
   “To that end, since   Stmt. of    • Ex. I - Dowd 11/13/18 Dep. at 202:11–205:13
   at least 2012, LVD    Position at   (
   and I have            24
   engaged in                                           )
   multiple                          • Ex. D - Rosette 6/29/20 Dep. at 146:4–147:11
   conversations                       (
   relating to the
   potential sale of
   my consulting
   businesses to LVD
   to accelerate
   LVD’s ability to                                                        )
   maintain a                          • Ex. DDDDDD - ROSETTE_REVISED_037492 (
   profitable online
   consumer lending
   business with no                            )
   outsourced                          • Ex. S - ROSETTE_REVISED_053374–6 (Nov. 2, 2012
   consulting                            email from Martorello: “I know you wanted option of
   services.”                            docs for the Tribe to consider signing … research is
   Martorello Decl. ¶                    underway on this IP sale option”— showing sale


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        Martorello    Cite in
                                                   Proof that Statement Is True
        Statement    Pl.s’ Brief
   49                                discussions in 2012 predating Otoe-Missouria
                                     litigation)
                                   • Ex. EEEEEE - ROSETTE_REVISED_053377 (


                                         )
                                   • Ex. IIIII - ROSETTE_REVISED_048729 (

                                                                         )
                                   • Ex. T - ROSETTE_REVISED_055756 (July 7, 2013
                                     sale proposal to sell a copy of SourcePoint intellectual
                                     property)
                                   • Ex. X - ROSETTE_REVISED_052247 (Dec. 31, 2013
                                     email in which Martorello rejects a potential sale
                                     transaction for purely economic reasons)
                                   • Ex. Y - ROSETTE_REVISED_046264 (



                                                   )
                                   • Ex. V - ROSETTE_REVISED 047736 at 047737 (



                                                                                          )
                                   • Ex. WWWWW - ROSETTE_REVISED_047747 (



                                         )
                                   • Ex. XXXXX - ROSETTE_REVISED_047730 (

                                                                    )
                                   • Ex. CC - ROSETTE_REVISED_052280 (


                                                                   )
                                   • Ex. YYYYY - ROSETTE_REVISED_053089 (


                                                        )
                                   • Ex. ZZZZZ - ROSETTE_REVISED_052619 (Aug. 14,
                                     2014 email in which LVD’s lawyers send the Eventide
                                     structured deal among three options)


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      Martorello         Cite in
                                                     Proof that Statement Is True
      Statement         Pl.s’ Brief
                                      • Ex. DD - ROSETTE_REVISED_052616 (

                                                     )
                                      • Ex. EE - ROSETTE_REVISED_048520 (Aug. 25,
                                        2014 email from Martorello to Rosette discussing
                                        possible sale and another buyer for SPVI)
                                      • Ex. AAAAAA - ROSETTE_REVISED_045282 (

                                                   )
                                      • Ex. HH - ROSETTE_REVISED_045972 (




                                                      )
                                      • Ex. II - ROSETTE_REVISED_044639–44642 (



                                                                                     )
                                   • Ex. JJ - CW_01786 (April 6, 2015 email from
                                     Martorello, “the closing can’t happen until 1/1/16”)
                                   • ECF 821-6 - Morgan Rep. at 13 (“The Sales and
                                     Service agreements together position [LVD] to utilize a
                                     common business development technique in other tribal
                                     industries.… [T]he tribes used their partnership
                                     relationships to gain experience, knowledge and capital.
                                     After gaining the necessary knowledge, the tribes no
                                     longer needed a partner and were able to increase their
                                     profitability by eliminating the need for a partner. The
                                     increased profits are key to fulfilling [LVD]’s socio-
                                     economic goals for its membership.”)
                                   • ECF 821-6 - Morgan Rep. at 14 (“In my professional
                                     opinion, the [LVD]’s lending business was following
                                     the same evolutionary path as most tribal gaming and
                                     tribal government contracting businesses. The Sales
                                     Agreement represents [LVD]’s effort to manage all
                                     aspects of its business operations without the need for a
                                     partner.”)
   “all loans are made Stmt. of    • Ex. I - Dowd 11/13/2018 Dep. 82:11–22, 83:9–15;
   from LVD’s          Position at   184:11–16 (
   reservation.”       26 n. 16                                             )


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       Martorello        Cite in
                                                     Proof that Statement Is True
       Statement        Pl.s’ Brief
   Martorello Decl. ¶                 • Ex. YY - Gerber 12/17/18 Dep. at 52:9–53:18
   107                                  (testifying about the importance of lending activities
                                        being on Tribal soil and that the bank would only deal
                                        with customers that conducted business on tribal soil)
                                      • Ex. E - Gravel 4/5/19 Dep. at 158:1–19 (confirming
                                        that after loan applications complete underwriting
                                        process, “all loan applications are reviewed and []
                                        approved by [Red Rock or Duck Creek] on tribal land
                                        before the loan is originated.”)
                                      • Ex. CCCC - Hazen 7/20/18 Decl. ¶ 8(c) (detailing
                                        eight-step process for loan origination)
                                      • Ex. G - Mansfield 1/18/2019 Dep. at 99:22–102:10
                                        (


                                                                                  )
                                      • Ex. G - Mansfield 1/18/2019 Dep. at 106:6–12
                                        (
                                                                                            )
                                      • Ex. G - Mansfield 1/18/2019 Dep. at 112:23–113:2
                                        (


                                                                               )
                                      • Ex. G - Mansfield 1/18/2019 Dep. at 115:23–116:1
                                        (
                                                                      )
                                      • Ex. D - Rosette 6/29/20 Dep. at 124:15–125:6
                                        (

                                                                )
                                      • Ex. P - Williams 8/22/13 Decl. at 4 (“Through the
                                        internet and Red Rock’s online platform, the loan
                                        application process takes place through a website
                                        owned and controlled by the Tribe as the sole member
                                        of Red Rock…. The ultimate authority to decide
                                        whether or not to fund a loan lies with the Tribe - both
                                        through technological aids and software capabilities as
                                        well as approvals by Red Rock officers - and occurs on
                                        Reservation land squarely within the Constitutional and
                                        territorial jurisdiction of the Tribe. Through
                                        technological aids and underwriting software, loans are
                                        approved through processes that occur on the
                                        Reservation in various forms, including by approvals


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      Martorello     Cite in
                                                 Proof that Statement Is True
      Statement     Pl.s’ Brief
                                    by Red Rock’s CEO. Upon approval of a loan
                                    application, Red Rock notifies the borrower of the
                                    acceptance of his or her loan application, the loan
                                    agreement is made available for electronic signature.
                                    The loans are funded by Tribally-owned bank
                                    accounts.”)
                                  • Ex. P - Williams 8/22/13 Decl. at 4 (“As the sole
                                    member of Red Rock, the Tribe plays a critical role in
                                    the lending operations of the companies. Pursuant to
                                    the manager-managed LLC formation, Red Rock is
                                    managed by Tribal members who are engaged in
                                    business decisions for each company on a day to day
                                    basis.”)
                                  • Ex. P - Williams 8/22/13 Decl. at 4–5 (“In my capacity
                                    as Chairman of the Tribal Council, and thus, Chairman
                                    of the sole member of Red Rock, I remain informed
                                    and abreast of the issues related to the continued
                                    successful operation of this Tribally-owned business. I
                                    am intimately aware of the financial benefit derived
                                    from Red Rock, and the way that the Tribal Council has
                                    utilized Red Rock revenues to fund Tribal government
                                    operations.”)
                                  • Ex. PP - ROSETTE_REVISED_037655 (




                                                                   )
                                  • Ex. XX - ROSETTE_REVISED_036363 (




                                         )
                                  • Ex. ZZ - ROSETTE_REVISED_014047 (Nov. 2, 2012
                                    email listing lending activities performed in office on
                                    LVD reservation)
                                  • Ex. NN - ROSETTE_REVISED_046999 (

                                                                                     )
                                  • Ex. QQ - ROSETTE_REVISED_031984–6 (Feb. 1,
                                    2013 email from Hazen with instructions to document
                                    origination process to standardize new employee
                                    training)


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      Martorello       Cite in
                                                   Proof that Statement Is True
      Statement       Pl.s’ Brief
                                    • Ex. TTTT - LVD-DEF00018890–4 (
                                                                                  )
                                    • Ex. GGGGGG - LVD-DEF00017128 (



                                                         )
                                    • ECF 821-4 - Ross Rep. at 15 (reviewing evidence and
                                      concluding that all components of origination—
                                      including approval, dispersal of funds, and
                                      communication of final approval—occurred on Tribal
                                      lands)
   “As I understand    Stmt. of     • Ex. I - Dowd 11/13/18 Dep. at 44:6–22 (
   LVD’s lending, all Position at
   loans are made      26 n. 16
   from LVD’s
   reservation to
   customers based                                                      )
   on criteria other              • Ex. I - Dowd 11/13/18 Dep. at 50:8–23 (
   than the
   customers’
   locations. I have
   never collected                                          )
   any debts from any             • Ex. I - Dowd 11/13/18 Dep. at 58:12–59:19 (
   consumers in
   Virginia. I have
   never had any
   control over Red
   Rock or Big                              )
   Picture’s lending              • Ex. I - Dowd 11/13/18 Dep. at 74:18–75:7 (
   decisions,
   including the
   decision to lend in
   any particular
   state.” Martorello
   Decl. ¶ 107
                                                )
                                  • Ex. I - Dowd 11/13/18 Dep. at 79:19–80:1 (


                                                                                        )
                                    • Ex. I - Dowd 11/13/2018 Dep. 82:11–22, 83:9–15;
                                      184:11–16 (
                                                                       )


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      Martorello     Cite in
                                                 Proof that Statement Is True
      Statement     Pl.s’ Brief
                                  • Ex. I - Dowd 11/13/18 Dep. at 140:8–20 (


                                                                                )
                                  • Ex. I - Dowd 11/13/18 Dep. at 179:7–17 (



                                                                  )
                                  • Ex. I - Dowd 11/13/18 Dep. at 183:9–15 (


                                                               )
                                  • Ex. I - Dowd 11/13/18 Dep. at 184:10–21 (



                                                          )
                                  • Ex. I - Dowd 11/13/18 Dep. at 185:15–23 (

                                                         )
                                  • Ex. I - Dowd 11/13/18 Dep. at 208:18–210:20
                                    (
                                                                          )
                                  • Ex. YY - Gerber 12/17/18 Dep. at 28:15–29:7 (the
                                    Tribe was the customer, and Bellicose/SourcePoint
                                    were just servicers)
                                  • Ex. E - Gravel 4/5/19 Dep. at 20:18–23:1–18 (testifying
                                    that Bellicose provided servicer provider
                                    recommendations to the lender that hired it―Capital
                                    Payday and Pepper Cash, owned by Red Rock
                                    Financial and Duck Creek Financial, owned by
                                    LVD―by way of lending operation recommendations
                                    and that the Tribal entities had decision-making
                                    authority regarding how to act on those
                                    recommendations)
                                  • Ex. E - Gravel 4/5/19 Dep. at 43:19–44:8 (testifying
                                    that the Tribal council was responsible for overseeing
                                    the governance and functioning of the Tribe, including
                                    the lending operation)
                                  • Ex. E - Gravel 4/5/19 Dep. at 86:3–87:12 (testifying
                                    that Martorello did not control Red Rock or Duck
                                    Creek, and that it is extremely common in the industry
                                    for entities to serve as servicers to lending entities)


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      Martorello     Cite in
                                                 Proof that Statement Is True
      Statement     Pl.s’ Brief
                                  • Ex. E - Gravel 4/5/19 Dep. at 151:15–152:18
                                    (explaining that it was not a concern that Bellicose
                                    would be subject to state law, not because of its
                                    partnership with LVD, but because it was not a lender.
                                    “Because we were not the lender and we were merely
                                    making recommendations and acting as a service
                                    provider to the sovereign tribal entities.”)
                                  • Ex. E - Gravel 4/5/19 Dep. at 158:1–19 (confirming
                                    that after loan applications complete underwriting
                                    process, “all loan applications are reviewed and []
                                    approved by [Red Rock or Duck Creek] on tribal land
                                    before the loan is originated.”)
                                  • Ex. CCCCCC - Hazen 9/28/17 Aff. ¶ 8 (“To learn the
                                    lending industry, Red Rock contracted with
                                    Bellicose…”)
                                  • Ex. CCCCCC - Hazen 9/28/17 Aff. ¶ 9 (“While Red
                                    Rock received advice and consulted with Bellicose
                                    about operations, all final decisions about operations
                                    were made by Red Rock managers.”)
                                  • Ex. BBB - Hazen 10/16/17 Dep. at 99:12–100:5
                                    (testifying that Hazen did not ask permission from
                                    Martorello to make decisions in lending business)
                                  • Ex. G - Mansfield 1/18/19 Dep. at 47:3–7 (


                                                       )
                                  • Ex. G - Mansfield 1/18/2019 Dep. at 53:5–25 (


                                                                   )
                                  • Ex. G - Mansfield 1/18/19 Dep. at 112:23–113:2 (



                                                                  )
                                  • Ex. G - Mansfield 1/18/2019 Dep. at 115:23–116:1
                                    (
                                                                     )
                                  • Ex. CCC - Justin Martorello 1/9/19 Dep. at 46:20–21
                                    (“I can tell you that the servicer SourcePoint never
                                    collected any amounts ever.”)
                                  • Ex. CCC - Justin Martorello 1/9/19 Dep. at 101:8–
                                    104:16 (explaining batch renewal process that occurred
                                    on Tribal land and was operated by Tribal employees)


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      Martorello     Cite in
                                                  Proof that Statement Is True
      Statement     Pl.s’ Brief
                                  • Ex. HHH - Justin Martorello 6/12/19 Decl. at 6
                                    (“Throughout my employment with BVI and BC,
                                    LVD’s operational decisions were made by managers
                                    which were appointed by the LVD Tribal Council.”)
                                  • Ex. HHH - Justin Martorello 6/12/19 Decl. at 8 (“By
                                    2013, it become apparent to me that DCTF was entirely
                                    self-sufficient and relied on SPVI recommendations for
                                    only highly technical issues.”)
                                  • Ex. J - Merritt 03/21/19 Dep. at 54:8–17 (
                                                       )
                                  • Ex. D - Rosette 6/29/20 Dep. at 60:18–61:11 (

                                                )
                                  • Ex. D - Rosette 6/29/20 Dep. at 124:15–125:6
                                    (

                                                           )
                                  • Ex. F - Weddle 5/20/2019 Dep. at 62:9–63:22
                                    (testifying that any documentation or business matter,
                                    such as the consumer loan document language, must
                                    have had approval of the designated Tribal officials;
                                    Bellicose was not the decision maker as to what
                                    documents were acceptable, “[b]ecause Bellicose VI
                                    was simply providing services pursuant to its contract”)
                                  • Ex. F - Weddle 5/20/19 Dep. at 108:5–14 (“these were
                                    tribal entities formed by the tribe, for the tribe, under
                                    tribal law, and the tribe was, at all instances, in my
                                    observation, directing the companies. Directing their
                                    legal decisioning, directing their contracting, acting
                                    with recommendations from Bellicose and later from
                                    SourcePoint, but at no point was Mr. Martorello, or any
                                    entity he was ever involved in, controlling anything.
                                    Those were determinations made by the appropriate
                                    tribal officials.”)
                                  • Ex. F - Weddle 5/20/2019 Dep. at 110:8–15 (“[A]t all
                                    times it was clear to me that I was advising Bellicose,
                                    as a service provider, who was in turn providing that
                                    information and advice to Red Rock and Duck Creek,
                                    and that the individuals responsible for decision-
                                    making for Duck Creek and for Red Rock were at all
                                    times tribal officials.”)
                                  • Ex. C - Williams 11/13/17 Dep. 42:10–44:5, 190:17–
                                    191:11 (testifying that BPL collects loans)
                                  • Ex. C - Williams 11/13/17 Dep. 107:17–108:8 (stating


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      Martorello     Cite in
                                                 Proof that Statement Is True
      Statement     Pl.s’ Brief
                                    that BPL handles underwriting the loans, not
                                    Ascension)
                                  • Ex. P - Williams 8/22/13 Decl. at 4 (“Through the
                                    internet and Red Rock’s online platform, the loan
                                    application process takes place through a website
                                    owned and controlled by the Tribe as the sole member
                                    of Red Rock…. The ultimate authority to decide
                                    whether or not to fund a loan lies with the Tribe - both
                                    through technological aids and software capabilities as
                                    well as approvals by Red Rock officers - and occurs on
                                    Reservation land squarely within the Constitutional and
                                    territorial jurisdiction of the Tribe. Through
                                    technological aids and underwriting software, loans are
                                    approved through processes that occur on the
                                    Reservation in various forms, including by approvals
                                    by Red Rock’s CEO. Upon approval of a loan
                                    application, Red Rock notifies the borrower of the
                                    acceptance of his or her loan application, the loan
                                    agreement is made available for electronic signature.
                                    The loans are funded by Tribally-owned bank
                                    accounts.”)
                                  • Ex. P - Williams 8/22/13 Decl. at 4 (“As the sole
                                    member of Red Rock, the Tribe plays a critical role in
                                    the lending operations of the companies. Pursuant to
                                    the manager-managed LLC formation, Red Rock is
                                    managed by Tribal members who are engaged in
                                    business decisions for each company on a day to day
                                    basis.”)
                                  • Ex. P - Williams 8/22/13 Decl. at 4–5 (“In my capacity
                                    as Chairman of the Tribal Council, and thus, Chairman
                                    of the sole member of Red Rock, I remain informed
                                    and abreast of the issues related to the continued
                                    successful operation of this Tribally-owned business. I
                                    am intimately aware of the financial benefit derived
                                    from Red Rock, and the way that the Tribal Council has
                                    utilized Red Rock revenues to fund Tribal government
                                    operations.”)
                                  • Ex. VVVV - ROSETTE_REVISED_052323 (Aug. 24,
                                    2011 email in which Martorello describes the emerging
                                    concept for the relationship between the Tribe and
                                    Bellicose as follows: the Tribe will make the “decision
                                    on how to operate and underwrite” while “Bellicose
                                    suggest new ideas and changes to the operations,” and
                                    “the Tribe is making the decision on how to operate”)


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      Martorello     Cite in
                                                 Proof that Statement Is True
      Statement     Pl.s’ Brief
                                  • Ex. PP - ROSETTE_REVISED_037655 (




                                                                   )
                                  • Ex. XX - ROSETTE_REVISED_036363 (




                                          )
                                  • Ex. JJJ - ROSETTE_REVISED_002331 (April 12,
                                    2012 email in which Martorello seeks approvals for a
                                    business plan from Red Rock’s co-managers including
                                    “the sale of denied loan applications” and “remarketing
                                    efforts” for existing customers, which Red Rock took
                                    nearly a month to consider and approve)
                                  • Ex. OO - ROSETTE_REVISED_045131 (June 7, 2012
                                    email documenting transfer of authority to co-managers
                                    to negotiate debt settlements as part of lending
                                    business)
                                  • Ex. OO - ROSETTE_REVISED_045131 (June 13,
                                    2012 email discussing Craig Mansfield’s authority to
                                    review and authorize settlement offers for delinquent
                                    loan accounts)
                                  • Ex. III - ROSETTE_REVISED 044598 at 044600 (June
                                    15, 2012 email from Karrie Wichtman: “we made every
                                    effort to ensure tribal control, and are tweaking things
                                    almost constantly, it seems, to allow for more tribal
                                    control…”)
                                  • Ex. WW - ROSETTE_REVISED_045533 (



                                                        )
                                  • Ex. ZZ - ROSETTE_REVISED_014047 (Nov. 2, 2012
                                    email listing lending activities performed in office on
                                    LVD reservation, including payment processing)
                                  • Ex. NN - ROSETTE_REVISED_046999 (

                                                                          )
                                  • Ex. QQ - ROSETTE_REVISED_031984 at 031985–86
                                    (email summary of January 30, 2013 weekly meeting


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      Martorello     Cite in
                                                  Proof that Statement Is True
      Statement     Pl.s’ Brief
                                    discussing on-reservation activities)
                                  • Ex. FFFFFF - ROSETTE_REVISED_031987 at
                                    031988–89 (
                                                        )
                                  • Ex. TTTT - LVD-DEF00018890–4 (
                                                                                         )
                                  • Ex. SS - ROSETTE_REVISED_029177–79) (


                                                              )
                                  • Ex. EEEEE - LVD-DEF00006043 (


                                                                )
                                  • Ex. FFFFF - LVD-DEF00022840 (



                                         )
                                  • Ex. GGGGGG - LVD-DEF00017128 (




                                  • Ex. MM - ROSETTE_REVISED_040016 (Mar. 2014
                                    email reflecting Tribe’s exercising control over
                                    employee hiring and firing decisions)
                                  • Ex. EEE - MARTORELLO_003936 (April 15, 2014
                                    email from Martorello to potential investor: “My job is
                                    to provide … services to Tribal government lenders and
                                    I get paid for my services. I don’t buy the loans they
                                    originate and then collect them. The tribe owns,
                                    manages, collects, and underwrites on tribal land, etc.
                                    My objective is to help the Tribe build their business in
                                    a self-sufficient manner.”)
                                  • Ex. LL - ROSETTE_REVISED_053208 (July 2014
                                    email showing Tribe’s hiring of a new Compliance
                                    ECF 821-4 - Manager and introducing her to
                                    SourcePoint)
                                  • ECF 821-4 - Ross Rep. at 17 (“Red Rock or Big Picture
                                    Loans were the lenders to whom the small dollar
                                    consumer installment loans were first payable and
                                    therefore the lender, the only lender and the True
                                    Lender.”)


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      Martorello        Cite in
                                                     Proof that Statement Is True
      Statement        Pl.s’ Brief
                                • ECF 821-4 - Ross Rep. at 35 (stating that in modern
                                  banking relationships, while proprietary “credit-scoring
                                  model[s] employing various algorithms,” such as a
                                  FICO score, are used to evaluate loan applications, “it
                                  is the approver of the predetermined non-discretionary
                                  underwriting criteria that actually makes the credit
                                  decision,” which in this case is “the lender comanagers,
                                  and Tribal Representative, and or the Tribal Council”
                                  and that “Red Rock and BPL operate as typical
                                  companies with the specialist recommending and
                                  management approving”)
                                • Ex. RR - Ross 3/15/2019 Dep. at 9, 74–75 (“The loan
                                  origination approval, dispersal and communication of
                                  the loan origination all occurred on tribal lands.”)
                                • Ex. RR - Ross 3/15/2019 Dep. at 9 (stating conclusion
                                  that Tribal council oversaw lending business and Tribe
                                  was “actively involved in day-to-day activities of the
                                  business”)
                                • Ex. RR - Ross Dep. at 130:21–133:12 (stating
                                  conclusion that Red Rock and Big Picture were
                                  structured as “traditional finance company” which
                                  originates and holds loans, rather than repackaging
                                  them and selling them off and that that is why the
                                  Tribal Entities are the true lenders)
   “Neither I nor any Stmt. of  • Ex. E - Gravel 4/5/19 Dep. at 98:14–99:19: (testifying
   company I own or Position at   that it is not true that Gravel, Martorello and Bellicose
   manage directed or 33–34       “helped form Big Picture and Red Rock”)
   controlled the               • Ex. BBB - Hazen 10/16/17 Dep. at 33:15–35:20
   creation of Big                (testifying that it was Tribe’s idea to create Big Picture)
   Picture.”                    • Ex. PPP - McGeshick 11/14/17 Dep. at 12:1–8
   Martorello Decl. ¶             (testifying that Red Rock was dissolved and became
   67                             Big Picture “for the growth and—of the economic
                                  development of the Tribe.”)
                                • Ex. D - Rosette 6/29/20 Dep. at 182:8–17 (

                                                      )
                                     • Ex. F - Weddle 5/20/2019 Dep. at 107:12–108:24
                                       (regarding ownership discussions: “these were tribal
                                       entities formed by the tribe, for the tribe, under tribal
                                       law, and the tribe was, at all instances, in my
                                       observation, directing the companies. Directing their
                                       legal decisioning, directing their contracting, acting
                                       with recommendations from Bellicose and later from
                                       SourcePoint, but at no point was Mr. Martorello, or any


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      Martorello         Cite in
                                                      Proof that Statement Is True
      Statement         Pl.s’ Brief
                                      entity he was ever involved in, controlling anything.
                                      Those were determinations made by the appropriate
                                      tribal officials.”)
                                    • Ex. F - Weddle 5/20/19 Dep. at 125:14–18 (testifying
                                      that Bellicose and SourcePoint did not have authority
                                      regarding whether the tribal lending entities were
                                      renamed)
                                    • Ex. C - Williams 11/13/17 Dep. 78:2–5 (“Q: Who
                                      created BPL? A: The Tribe. Q: And whose idea was it
                                      to create BPL? A: It was the Tribe, the business and
                                      Tribal Council.”)
                                    • Ex. B - LVD Resolution No. 2014-066 (Aug. 26, 2014)
                                      (forming BPL under Tribal law by act of the Tribe,
                                      through the efforts of its counsel)
   “Neither I, nor      Stmt. of    • Ex. E - Gravel 4/5/19 Dep. at 98:14–99:19: (testifying
   Bellicose, helped    Position at   that it is not true that Gravel, Martorello and Bellicose
   form Big             34            “helped form Big Picture and Red Rock”)
   Picture[.]”                      • Ex. BBB - Hazen 10/16/17 Dep. at 33:15–35:20
   Martorello Decl. ¶                 (testifying that it was Tribe’s idea to create Big Picture)
   102                              • Ex. PPP - McGeshick 11/14/17 Dep. at 12:1–8
                                      (testifying that Red Rock was dissolved and became
                                      Big Picture “for the growth and—of the economic
                                      development of the Tribe”)
                                    • Ex. D - Rosette 6/29/20 Dep. at 182:8–17 (

                                                        )
                                      • Ex. F - Weddle 5/20/2019 Dep. at 107:12–108:24
                                        (regarding ownership discussions: “these were tribal
                                        entities formed by the tribe, for the tribe, under tribal
                                        law, and the tribe was, at all instances, in my
                                        observation, directing the companies. Directing their
                                        legal decisioning, directing their contracting, acting
                                        with recommendations from Bellicose and later from
                                        SourcePoint, but at no point was Mr. Martorello, or any
                                        entity he was ever involved in, controlling anything.
                                        Those were determinations made by the appropriate
                                        tribal officials.”)
                                      • Ex. F - Weddle 5/20/19 Dep. at 125:14–18 (testifying
                                        that Bellicose and SourcePoint did not have authority
                                        regarding whether the tribal lending entities were
                                        renamed)
                                      • Ex. C - Williams 11/13/17 Dep. 78:2–5 (stating that it
                                        was the Tribe’s idea to create BPL)
                                      • Ex. C - Williams 11/13/17 Dep. 138:20–139:21


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      Martorello          Cite in
                                                      Proof that Statement Is True
      Statement          Pl.s’ Brief
                                         (discussing reasons for creating BPL and Ascension)
                                       • Ex. B - LVD Resolution No. 2014-066 (Aug. 26, 2014)
                                         (forming BPL under Tribal law by act of the Tribe,
                                         through the efforts of its counsel)
   The Defendants        Stmt. of      • Ex. I - Dowd 11/13/2018 Dep. at 230:2–15 (
   have made             Position at
   material              42
   misrepresentations                               )
   about the value of                  • Ex. G - Mansfield 1/18/2019 Dep. at 48:4–7 (
   Bellicose, such as
   that it “was valued
   at just over $100                                             )
   million” at the                     • Ex. KKK - LVD-DEF00022047 (
   time of the sale.
   See Galloway I,                                                  )
   ECF 40 at 7.                        • Ex. UUUUUU - Middlemarch 000642 (

                                                                                       )
                                       • Ex. AAA - ROSETTE_REVISED_048541 (Aug. 26,
                                         2014 email from Martorello to LVD forecasting
                                         revenues of over $58 million each year)
                                       • Ex. KK - BDO-Bellicose000065 (

                                                          )
                                       • Ex. HHHHHH - Martorello_009769 (Dec. 5, 2015
                                         email exchange in which Martorello asks how the
                                         valuation will change if the probability of impact from
                                         Operation Chokepoint or rulemaking is set to 49% and
                                         valuation expert responds: “The value is well above
                                         100million even with a CSRP of 50%.”)
                                       • Ex. TTTTTT - Martorello_011255 (Mar. 10, 2017
                                         email from Martorello detailing how Operation
                                         Chokepoint and potential CFPB rule were mitigated
                                         well before the sale)
                                       • ECF 821-7 Cowhey Rep. at 15 (estimating value of
                                         Combined Business—i.e., Bellicose Capital LLC and
                                         LVD Tribal Acquisition Company LLC—in January
                                         2016 at $189,307,000)
   “Since the            Stmt. of      • Ex. I - Dowd 11/13/18 Dep. at 36:2–22 (
   beginning of my       Position at
   relationship with     45 n.26
   LVD, I understood
   that LVD had                                              )
   always intended to                  • Ex. I - Dowd 11/13/18 Dep. at 180:24–181:22


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        Martorello        Cite in
                                                       Proof that Statement Is True
        Statement        Pl.s’ Brief
   utilize my                            (
   consulting services                                                                        )
   to assist them to                   • Ex. I - Dowd 11/13/18 Dep. at 186:2–12 (
   build their
   valuable IP and to                             )
   better understand                   • Ex. I - Dowd 11/13/18 Dep. at 191:24–192:13
   how to run a                          (
   successful online                                                                              )
   consumer lending                    • Ex. I - Dowd 11/13/18 Dep. at 193:14–194:2 (
   business.”
   Martorello Decl. ¶
   47                                                             )
                                       • Ex. I - Dowd 11/13/2018 Dep. at 202:17–203:12
                                         (
                                                                                                 )
                                       • Ex. CCCCCC - Hazen 9/28/17 ¶¶ 4–5 (“After the 2008
                                         recession, after making significant cuts to government
                                         programs and services due to drastically decreased
                                         casino revenue, the LVD Tribal Council began to
                                         explore other options to support its goals of self-
                                         sufficiency and self-determination. LVD developed a
                                         comprehensive economic development strategy to build
                                         a more diversified economy. … The LVD Tribal
                                         Council decided to start tribal online lending businesses
                                         to bring revenue to LVD that would advance the public
                                         health, safety, and welfare of LVD’s citizens through
                                         provision of essential governmental services.”)
                                       • Ex. CCCCCC - Hazen 9/28/17 Aff. ¶ 8 (“To learn the
                                         lending industry, Red Rock contracted with
                                         Bellicose…”)
                                       • Ex. CCCCCC - Hazen 9/28/17 Aff. ¶ 20 (“With its
                                         newly formed tribal businesses, LVD bought Bellicose
                                         to acquire its intellectual property related to online
                                         lending, as well as its existing data, software, and
                                         corporate goodwill.”)
                                       • Ex. BBB - Hazen 10/16/17 Dep. at 41:12–19 (“Q. And
                                         what was the tribe purchasing for $300 million? A. The
                                         intellectual property of Bellicose which included the
                                         existing software and data and the expertise to run a
                                         successful business. Q. Why did you need the expertise
                                         of Bellicose to run Big Picture Loans? A. The tribe was
                                         still learning the business.”)
                                       • Ex. G - Mansfield 1/18/2019 Dep. at 47:9–22
                                         (testifying that Tribe entered into arrangement with


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      Martorello     Cite in
                                                  Proof that Statement Is True
      Statement     Pl.s’ Brief
                                    outside service providers because “Any time you start a
                                    new business, you -- you don’t have expertise in it. You
                                    don't understand how to -- to run it properly. So that's
                                    why you pay a service provider to help you learn this
                                    business.”)
                                  • Ex. D - Rosette 6/29/20 Dep. at 207:16–208:4
                                    (

                                                             )
                                  • Ex. F - Weddle 5/20/2019 Dep. at 75:17–78:6
                                    (testifying that LVD wanted a consumer lending
                                    business for a long time because “the tribe is very
                                    geographically isolated, lacks sources of reliable
                                    revenue, is not sufficiently located near a population
                                    sufficient to support significant gaming, for example.
                                    And they wanted to establish a long-term business that
                                    the tribe could grow over a number of years, and they
                                    wanted to do that in the right way by having a
                                    consumer protective code in place that would allow
                                    them to do that.”)
                                  • Ex. F - Weddle Dep. at 116:11–117:16 (“[t]he model
                                    that many tribes follow is to hire the best service
                                    provider they can to help them learn a business,
                                    develop their internal capacity, grow it over time, and
                                    then eventually they don't need that service provider
                                    anymore”)
                                  • Ex. F - Weddle 5/20/2019 Dep. at 227:6–229:6
                                    (testifying that Tribe had a long-term vision for lending
                                    business, which was discussed in 2011 at the Tribal
                                    council meeting, to create upward mobility for LVD
                                    members)
                                  • Ex. F - Weddle 5/20/2019 Dep. at 239:3–240:7
                                    (testifying that LVD decided to purchase Bellicose
                                    because tribes frequently acquire businesses: “it’s a
                                    way by which tribes very quickly acquire capacity and
                                    expertise by purchasing it rather than growing it in-
                                    house over a longer period of time.”)
                                  • Ex. C - Williams 11/13/17 Dep. at 200:23–201:2
                                    (“[R]eally looking at what this business is capable of
                                    doing for the Tribe, for our future generations to come.
                                    . . it’s the focus of our future.”)
                                  • Ex. K - Red Rock-Bellicose Servicing Agreement §
                                    4.2.1, MARTORELLO_ 026256 at 026268, (discussing
                                    training to be provided by SPVI and requiring SPVI to


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      Martorello     Cite in
                                                 Proof that Statement Is True
      Statement     Pl.s’ Brief
                                    provide credit-modeling data and risk-assessment
                                    strategies for Red Rock but not underlying formulas)
                                  • Ex. PP - ROSETTE_REVISED_037655 (




                                                                             )
                                  • Ex. DDDD - CM0000620 (


                                                         )
                                  • Ex. EEEE - ROSETTE_REVISED_045532 (

                                                                                 )
                                  • Ex. FFFF - ROSETTE_REVISED_043977 (


                                          )
                                  • Ex. GGGG - ROSETTE_REVISED_045806 (

                                                                                     )
                                  • Ex. HHHH - CM0000286 & 297 (


                                                               )
                                  • Ex. OO - ROSETTE_REVISED_045131 (June 7, 2012
                                    email documenting transfer of authority to co-managers
                                    to negotiate debt settlements as part of lending
                                    business)
                                  • Ex. WW - ROSETTE_REVISED_045533 (



                                                     )
                                  • Ex. IIII - ROSETTE_REVISED_037729 (

                                                                               )
                                  • Ex. ZZ - ROSETTE_REVISED_014047 (Nov. 2, 2012
                                    email listing lending activities performed in office on
                                    LVD reservation)
                                  • Ex. JJJJ - ROSETTE_REVISED_044773 (




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      Martorello     Cite in
                                                 Proof that Statement Is True
      Statement     Pl.s’ Brief
                                         )
                                  • Ex. TT - ROSETTE_REVISED_030201 (

                                                              )
                                  • Ex. KKKKKK - LVD-DEF00017139 (


                                                                        )
                                  • Ex. KKKK - ROSETTE_REVISED_044130–044131
                                    (




                                                         )
                                  • Ex. LLLL - ROSETTE_REVISED_029171 (Aug. 19,
                                    2014 email stating compliance manager is impressive
                                    and “the Tribe will absolutely benefit from her
                                    participation as a DCTF employee”)
                                  • Ex. MMMM - ROSETTE_REVISED_046799 (


                                                                         )
                                  • Ex. NNNN - ROSETTE_REVISED_045267 (Aug. 24,
                                    2014 email from Wichtman to Martorello: “I have tribal
                                    leaders in my ear eager to learn”)
                                  • Ex. OOOO - ROSETTE_REVISED_037429 (

                                                          )
                                  • Ex. FFF - LVD-DEF00017855 (

                                                                                )
                                  • Ex. BBBBB - LVD-DEF00016838 (


                                             )
                                  • Ex. EEEEE - LVD-DEF00006043 (


                                                                )
                                  • Ex. FFFFF - LVD-DEF00022840 (



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      Martorello     Cite in
                                                  Proof that Statement Is True
      Statement     Pl.s’ Brief
                                    Weaver, McFadden, Dowd and Justin Martorello to
                                    LVD’s Co-Managers beginning May 2014 to March
                                    2015)
                                  • Ex. PPPP - ROSETTE_REVISED_031665 (


                                            )
                                  • Ex. QQQQ - ROSETTE_REVISED_006609 (

                                                                                   )
                                  • Ex. RRRR - LVD-DEF00023021 (

                                                          )
                                  • ECF 821-7 - Cowhey Rep. at 16 (estimating value of
                                    LVD’s equity in its intellectual property, including its
                                    procedures, systems, customers lists and brands at
                                    $24,729,000 as of the date of sale)
                                  • ECF 821-2 - Henson Rep. at 4 (“Noteworthy parallels
                                    exist between the development of tribal gaming
                                    enterprises and online lending. When tribes initially
                                    entered the highly-regulated gaming industry, they did
                                    not have the capital, managerial talent, or technical
                                    skills to start and operate successful casino businesses.
                                    As a result, tribal governments sought outside expertise
                                    to help them manage their gaming enterprises, as well
                                    as to provide technological solutions associated with
                                    many popular gaming products (such as electronic
                                    bingo and slot machines). In addition to facilitating
                                    tribal gaming operations, outside experts also trained
                                    tribal employees, so that tribes were better positioned to
                                    manage their enterprises themselves. These
                                    circumstances are mirrored in the similarly highly-
                                    regulated online lending industry, as tribes formalized
                                    contractual relationships with outside experts to
                                    facilitate their entry into a new industry.”)
                                  • ECF 821-6 - Morgan Rep. at 7–8 (explaining that, in
                                    the context of gaming, tribes often partner with non-
                                    tribal service providers “because they d[o] not have the
                                    required knowledge and capital” to enter the business,
                                    and that “Once a tribe had gained enough gaming
                                    knowledge, they were able to function without the non-
                                    tribal company and operate, control, and regulate every
                                    aspect of their own casinos.”)
                                  • ECF 821-6 - Morgan Rep. at 13 (“The Sales and


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      Martorello     Cite in
                                                 Proof that Statement Is True
      Statement     Pl.s’ Brief
                                    Service agreements together position [LVD] to utilize a
                                    common business development technique in other tribal
                                    industries. … [T]he tribes used their partnership
                                    relationships to gain experience, knowledge and capital.
                                    After gaining the necessary knowledge, the tribes no
                                    longer needed a partner and were able to increase their
                                    profitability by eliminating the need for a partner. The
                                    increased profits are key to fulfilling [LVD]’s socio-
                                    economic goals for its membership.”)
                                  • ECF 821-6 - Morgan Rep. at 14 (“In my professional
                                    opinion, the [LVD]’s lending business was following
                                    the same evolutionary path as most tribal gaming and
                                    tribal government contracting businesses. The Sales
                                    Agreement represents [LVD]’s effort to manage all
                                    aspects of its business operations without the need for a
                                    partner.”)
                                  • ECF 821-6 - Morgan Rep. at 28 (“tribes follow an
                                    evolutionary cycle when entering into a new industry.
                                    They create the entity, often partner with another
                                    company to help learn the business and then generally
                                    are incentivized to completely take over a business
                                    without any partners or with partners in limited roles.”)




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